     Case 4:01-cr-00145 Document 281 Filed on 01/28/09 in TXSD Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


UNITED STATES OF AMERICA,                    §
                                             §
                                             §
v.                                           §            CRIMINAL NO. H-01-0145-003
                                             §
WALTER LYNELL STAPLETON                      §
                                             §


                 MEMORANDUM AND ORDER
      DENYING MOTION TO REDUCE TERM OF IMPRISONMENT

       The defendant, Walter Lynell Stapleton, has filed a motion to modify the term of

imprisonment under 18 U.S.C. § 3582(c)(2). [Doc. # 279]. The Court has carefully reviewed

all pertinent matters in this criminal case. Based upon this review, the Court’s clear

recollection of the relevant proceedings, and application of governing legal authorities, the

Court denies the defendant’s motion for reasons set forth below.

       Stapleton was convicted of aiding and abetting a bank robbery in violation of 18

U.S.C. § 2113(a). After considering a presentence report (“PSR”) prepared by the Probation

Office, this Court sentenced Stapleton to serve 140 months in prison, followed by a term of

supervised release and payments of restitution. The Fifth Circuit affirmed the conviction,

see United States v. Stapleton, No. 01-21296 (5th Cir. March 28, 2003) (unpublished), and

this Court has denied a previous motion for relief from the conviction and sentence under 28

U.S.C. § 2255.
     Case 4:01-cr-00145 Document 281 Filed on 01/28/09 in TXSD Page 2 of 5




       Stapleton now requests a reduction in his sentence of imprisonment based upon

Amendment 709 of the United States Sentencing Guidelines (effective November 1, 2007),

which altered the definition of “related cases” as it pertains to the scoring of criminal history

points in the PSR. This amendment modified § 4A1.2 of the Sentencing Guidelines, among

other provisions, which relates to the calculation of a defendant’s criminal history score.

Stapleton argues that, pursuant to the new definition found in Amendment 709, he is entitled

to a reduction in his criminal history score and corresponding reduction in his sentence.

Stapleton is not entitled to relief for reasons that follow.

        “Whether to reduce a sentence based on a subsequent change in the [S]entencing

[G]uidelines rests with the sound discretion of the district court and the proper mechanism

for reviewing such a claim is a motion brought under 18 U.S.C. § 3582(c)(2).” United States

v. Posada-Rios, 158 F.3d 832, 880 (5th Cir. 1998). Under this statute, a court “may not”

modify a term of imprisonment once it has been imposed except in the following

circumstance:

        . . . [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been lowered
       by the Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of
       the defendant or the Director of the Bureau of Prisons, or on its own motion,
       the court may reduce the term of imprisonment, after considering the factors
       set forth in section 3553(a) to the extent that they are applicable, if such a
       reduction is consistent with applicable policy statements issued by the
       Sentencing Commission.

18 U.S.C. § 3582(c)(2) (emphasis added). The Sentencing Commission has promulgated

policy statements regarding a court’s consideration of a motion under 18 U.S.C. § 3582(c)(2)


                                               2
     Case 4:01-cr-00145 Document 281 Filed on 01/28/09 in TXSD Page 3 of 5




at § 1B1.10 of the United States Sentencing Guidelines. See United States v. Mueller, 168

F.3d 186, 189 (5th Cir. 1999). “The sentencing court is required to consider these policy

statements when addressing a defendant’s motion to reduce sentence.” Id. (citing United

States v. Townsend, 55 F.3d 168, 171-72 (5th Cir. 1995)).

       According to the Sentencing Commission’s policy statement, a reduction in a

defendant’s term of imprisonment is authorized under 18 U.S.C. § 3582(c)(2) only if the

amendment is listed in § 1B1.10(c) of the Guidelines. See U.S. SENTENCING GUIDELINES

MANUAL § 1B1.10(a) (2001). The amendment invoked by Stapleton (Amendment 709) is

not listed in § 1B1.10(c) of the Guidelines and is not retroactive. See United States v.

Rodriguez, No. 08-10595, 2009 WL 46884 (5th Cir. 2009) (per curiam, unpublished)

(holding that a district court is not authorized to reduce a sentence based on Amendment 709

because it is not listed in § 1B1.10(c) and it is not retroactive); see also United States v.

Marler, 527 F.3d 874, 878 n.1 (9th Cir. 2008) (explaining that Amendment 709 is not a

simple clarification, but effects a substantive change that does not apply retroactively)

(citations omitted); United States v. Wood, 526 F.3d 82, 88 (3d Cir. 2008) (holding that

Amendment 709 is not retroactive); United States v. Peters, 524 F.3d 905, 907 (8th Cir.

2008) (same); United States v. Godin, 522 F.3d 133, 134-35 (1st Cir. 2008) (same). It

follows that a reduction in the defendant’s term of imprisonment is not consistent with the

relevant policy statement and is not authorized. Accordingly, Stapleton is not entitled to a

reduction in his term of imprisonment under § 3582(c)(2).



                                             3
     Case 4:01-cr-00145 Document 281 Filed on 01/28/09 in TXSD Page 4 of 5




       In addition, Stapleton argues that he is entitled to consideration and a corresponding

reduction in his sentence under § 5K2.0 of the Sentencing Guidelines based on post-

sentencing achievements of an extraordinary character. In support of this request, Stapleton

encloses a copy of his Bureau of Prisons Education and Vocational Training Transcript as

evidence of his rehabilitative efforts. He also encloses a memorandum from his unit

manager, attesting to Stapleton’s “work ethic and outstanding performance” in his daily job

duties at the Federal Correctional Center in Beaumont, where he is presently assigned.

       Stapleton’s post-sentencing achievements (cited as a factor under U.S.S.G. § 5K2.0),

while admirable and encouraged, may not be considered by the Court in reducing a sentence

previously imposed. See U.S.S.G. § 5K2.19 (noting that “post-sentencing rehabilitative

efforts, even if exceptional, undertaken by a defendant after imposition of a term of

imprisonment for the instant offense are not an appropriate basis for a downward departure

when resentencing the defendant for that offense,” although “[s]uch efforts may provide a

basis for early termination of supervised release under 18 U.S.C. § 3583(e)(1)”). The

background commentary to § 5K2.19 states: “[T]he Commission has determined that post-

sentencing rehabilitative measures should not provide a basis for downward departure when

resentencing a defendant initially sentenced to a term of imprisonment because such a

departure would (1) be inconsistent with the policies established by Congress under 18

U.S.C. § 3624(b) and other statutory provisions for reducing the time to be served by an

imprisoned person; and (2) inequitably benefit only those who gain the opportunity to be



                                             4
     Case 4:01-cr-00145 Document 281 Filed on 01/28/09 in TXSD Page 5 of 5




resentenced de novo.” Under these circumstances, the Court may not reduce Stapleton’s

previously imposed sentence based on his post-judgment accomplishments.

         In summary, Stapleton has not demonstrated that he is entitled to relief under an

amendment that has been made retroactive under the Guidelines or that he is otherwise

entitled to a reduction in his sentence. Because he is not entitled to the relief sought, it is

hereby

         ORDERED that Stapleton’s motion for a reduction in his term of imprisonment [Doc.

# 279] is DENIED.

         The Clerk will provide a copy of this order to the parties.

         SIGNED at Houston, Texas, this 28th day of January, 2009.




                                               5
